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,,


                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                                                                                FILED
      UNITED STATES OF AMERICA,                      )
                                                                                                OCT O5 2021
                                                     )                                   CLERK, U.S. DISTRICT COURT
                             Plaintiff,              )                                  SOUTHERN DISTRICT OF IUINOIS
                                                                                              BENTON OFFICE
                                                     )
      vs.                                            )       CRIMINAL NO. 21-40039-SMY
                                                     )
      MINGQING XIAO,                                 )       18 U.S.C. §§ lO0I(a)(l), 1343
                                                     )       26 u.s.c. § 7206(1)
                             Defendant.              )       31 u.s.c. §§ 5313, 5322



                                          SUPERSEDING INDICTMENT

             THE GRAND JURY CHARGES:

                                                    Countl
                                          Wire Fraud - 18 U.S.C. § 1343

              I.     At times material to this Indictment:

                     a.      The National Science Foundation (NSF) was a federal agency and part of

      the executive branch of the United States government. The NSF awarded funding through

      competitive grants to American colleges and universities and other research institutions,

      including basic research and cutting edge "high risk, high pay off' ideas and projects.

                     b.      In order to receive NSF funding, an institution was required to submit a

      detailed application describing, among other things, the amount of funding requested, the names

      of the principal participants conducting the research, and how the funding would be used.

      During the application process, the principal investigator (PI) with the institution applying for the

      award was required to disclose to NSF all "organizational affiliations" and all "Current and

      Pending Support." NSF defined Current and Pending Support: "[a]ll current project support

      from whatever source (e.g., Federal, State, local or foreign government agencies, public or

      private foundations, industrial or other commercial organizations, or internal funds allocated
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 toward specific projects) must be listed. The proposed project and all other projects or activities

 requiring a portion of time of the PI and any other senior personnel must be included, even if

 they receive no salary support from the project(s)."

                c.      Southern Illinois University- Carbondale ("SIUC") was a public research

 university located in Carbondale, Illinois.

                d.      From in or about 2000 to the present, the defendant, MINGQING XIAO,

 was employed as a professor in the Department of Mathematics at SIUC. His research included

 partial differential equations, control theory, optimization theory, dynamical systems, and

 computational science. As an employee of SIUC, XIAO could apply for federal funds on behalf

 ofSIUC.

 The scheme and artifice to defraud:

        2.      Beginning on or about August 1, 2018 and continuing to on or about July 16,

 2019, in the Southern District of Illinois, and elsewhere, the defendant MINGQING XIAO

 knowingly and willfully devised and intended to devise a scheme to defraud NSF, and to obtain

 money and property from NSF, by means of materially false and fraudulent pretenses,

 representations, and promises.

        3.      It was the object of the scheme to obtain money from NSF based, in part, on the

 materially false and fraudulent pretenses, representations, and promises provided to NSF.

        4.      It was part of the scheme to defraud that, on or about September 13, 2018, XIAO

 submitted to SIUC a proposal for an NSF grant for $151,099. XIAO certified to SIUC that the

 proposal was "true, complete, and accurate."

        5.      On or about September 17, 2018, XIAO caused that same grant proposal to be

 submitted by SIUC to NSF.



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        6.      On a grant proposal to NSF, applicants must disclose all "Current and Pending

 Support" from whatever source. XIAO did not disclose to NSF a grant that XIAO had received

 in or around 2017 from the Natural Science Foundation ofGuangdong Province of China for

 about 1,200,000 yuan (about $180,000) that ran from 2018-2022.

        7.      On a grant proposal to NSF, applicants must disclose all "Current and Pending

 Support" from whatever source and all "organizational affiliations." XIAO did not disclose on

 the grant proposal to NSF his ongoing contractual obligations to Shenzhen University, a public

 university located in Guangdong Province, China. On or about April 15, 2018, XIAO signed a

 contract with Shenzhen University running from 2018 to 2023, replacing an earlier contract.

 XIAO agreed to certain teaching and research obligations at Shenzhen University and agreed to

 apply for research grants with the Chinese government on behalf of Shenzhen University. In

 exchange, Shenzhen University agreed to pay XIAO a monthly salary. Shenzhen University

 deposited XIAO's monthly salary into an account at Ping An Bank.

        8.      On or about March 11, 2019, XIAO submitted to Shenzhen University an

 application for a grant with the Natural Science Foundation of China, requesting about 605,000

 yuan (about $90,000) for research from 2020-2023.

        9.      On or about April 29, 2019, a representative of NSF contacted XIAO by email

 before awarding the grant, stating that NSF was contacting him "to make sure that the current

 and pending support statement includes worldwide sources. So, if you have any position outside

 of the US or any source of funding from any non-US funding source please include it in your

 updated current and pending support page. The award size depends on what other support and

 commitments of time you have, particularly other projects whose work overlaps this one."

        10.     On or about May I, 2019, XIAO falsely stated in reply to NSF, "I don't have

 other grants or pending proposals but this one."

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         11.     On or about July 16, 2019, NSF awarded a grant of$151,099 to SIUC with XIAO

 as the sole Pl, based in part on the false statements and omissions made by XIAO.

         12.     On or about September 17, 2018, in the Southern District of Illinois and

 elsewhere, defendant,

                                       MINGQING XIAO,

 for the purpose of executing the scheme described above, caused signals to be transmitted by

 means of wire communication in interstate commerce, namely a file containing the grant

 proposal, which was sent from Carbondale, Illinois, via Fastlane on NSF.gov, to NSF servers

 located outside Illinois.

         In violation of Title 18, United States Code, Section 1343.

                                            Count2
                                  Wire Fraud -18 U.S.C. § 1343

         1.      Paragraphs 1-11 of Count I are incorporated herein by reference.

         2.      On or about May 1, 2019, in the Southern District of Illinois and elsewhere,

 defendant,

                                       MINGQING XIAO,

 for the purpose of executing the scheme described above, caused signals to be transmitted by

 means of wire communication in interstate commerce, namely, an email sent by MINGQING

 XIAO from the Southern District of Illinois, to NSF servers located outside Illinois.

         In violation of Title 18, United States Code, Section 1343.

                                            Count3
                             False Statement - 18 U.S.C. § lOOl(a)(l)

         On or about September 13, 2018, in the Southern District of Illinois, defendant,

                                       MINGQING XIAO,

 did willfully and knowingly falsify, conceal, and cover up by trick, scheme, and device a material

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 fact in a matter within the jurisdiction of the executive branch of the government of the United

 States, by falsely certifying to SIUC that the grant proposal to NSF was "true, complete, and

 accurate" when XIAO knew that it was not.

        In violation of Title 18, United States Code, Section 100 I (a)(l ).

                                               Count4

                      False Statement On Tax Return-26 U.S.C. § 7206(1)

        On or about April 16, 2018, in the Southern District of Illinois and elsewhere, the

 defendant,

                                        MINGQING XIAO,

 did willfully make and subscribe a U.S. Individual Tax Return, for the tax year 2017, which was

 verified by a written declaration that it was made under the penalties of perjury, and which was

 filed with the Director, Internal Revenue Service, and which return the defendant did not believe

 to be true and correct as to every material matter, in that, in response to a question asking ifhe had

 a financial interest in or signature authority over a financial account located in a foreign country,

 XIAO answered "no," when in fact he had a financial interest in and signature authority over a

 financial account at Ping An Bank in the People's Republic of China.

        All in violation of Title 26, United States Code, Section 7206(1).

                                               Counts

                 Fraud or False Statement On Tax Return- 26 U.S.C. § 7206(1)

        On or about March 24, 2019, in the Southern District of Illinois and elsewhere, the

 defendant,

                                       . MINGQING XIAO,

 did willfully make and subscribe a U.S. Individual Tax Return, for the tax year 2018, which was

 verified by a written declaration that it was made under the penalties of perjury, and which was

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 filed with the Director, Internal Revenue Service, and which return the defendant did not believe

 to be true and correct as to every material matter, in that, in response to a question asking ifhe had

 a financial interest in or signature authority over a financial account located in a foreign country,

 XIAO answered "no," when in fact he had a financial interest in and signature authority over a

 financial account at Ping An Bank in the People's Republic of China.

         All in violation of Title 26, United States Code, Section 7206(1 ).

                                                Count6

                 Fraud or False Statement On Tax Return- 26 U.S.C. § 7206(1)

         On or about July 12, 2020, in the Southern District of Illinois and elsewhere, the defendant,

                                         MINGQING XIAO,

 did willfully make and subscribe a U.S. Individual Tax Return, for the tax year 2019, which was

 verified by a written declaration that it was made under the penalties of perjury, and which was

 filed with the Director, Internal Revenue Service, and which return the defendant did not believe

 to be true and correct as to every material matter, in that, in response to a question asking if he had

 a financial interest in or signature authority over a financial account located in a foreign country,

 XIAO answered "no," when in fact he had a financial interest in and signature authority over a

 financial account at Ping An Bank in the People's Republic of China.

         All in violation of Title 26, United States Code, Section 7206(1).

                                                Count7

           Failure to File Report of Foreign Bank Account- 31 U.S.C. §§ 5313, 5322

         On or about October 15, 2020, in the Southern District of Illinois and elsewhere, the

 defendant,

                                         MINGQING XIAO,



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 did willfully fail to file wi th the U.S. Treasury's Financial Crimes Enforcement Network

 (FinCEN), FinCEN Form 114, Report of Foreign Bank and Financial Accounts ("FBAR"),

 disclosing that he had an interest in and signature authority over a financial account in a fo reign

 country, namely, a bank account at Ping An Bank in the People's Republic of Ch ina, which had a

 value of more than $10,000 at some time during the ca lendar year 20 li 9.

        All in violation of Title 31, United States Code, Section 531. 4 & 5322(a), and Title 31,

 Code of Federal Regu lations, Sections IOI0.350, 1010.306(c)-(d), and IOI0.840(b) (formerly Title

 31 Code of Federa l Regulations, Section I03.24, I 03.27(c)-(d) and I03.59(b)).




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 PETER T. RfED
 Assistant United States Attorney
                  Digitally t igned by STEVEN
                  WEINHOEFT
                  Date: 2021.10.0415:19:53
                  ·05'00'

 STEVEN D. WEINHOEFT
 United States Attorney


 Recommended Bond: $5,000 bond




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